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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF ILLINOIS

 Lennisha Reed et al.,

                         Plaintiffs,
                                                   Case Number 3:20-cv-01139-SPM
                         v.
                                                   Judge Stephen P. McGlynn
 Wexford Health Sources, Inc., et al.,

                         Defendants.


 PLAINTIFF RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO STRIKE

       Plaintiffs Lennisha and Lenn Reed, through their undersigned counsel, submit this

response in opposition to the motion to strike expert reports filed by the defendants in this case.

ECF 178. (A companion motion to strike has been filed in Wiley.)

       This case, and the parallel Wiley case pending before Judge Dugan, are coming to a close

after years of discovery. Plaintiffs agree there was a 36-hour delay in submitting expert reports.

The reasons for the delay were an inadvertence that is explained below, but in all events

Plaintiffs have proposed to remedy the delay by offering the defendants a corresponding, four-

day extension of the deadlines for their own expert reports, from October 5 to October 9—to be

taken out of Plaintiff’s time to depose the defendants’ experts. That would be the natural and

commonsense way to resolve a delay of this nature. And it would zero out any prejudice

Defendants might have experienced from the short delay. Defendants, however, have rejected it.

       Defendants also claim Plaintiffs have provided delayed written discovery responses. But

the “discovery” is a set of contention interrogatories. When the interrogatories were served,

Plaintiff objected that they were premature because they required the opinions of Plaintiff’s

experts to answer. Even so, Plaintiffs gave defense counsel drafts of the interrogatory responses
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on June 19. The final, August 6 versions were substantively the same as the June 19 drafts,

though modified to incorporate the expert reports.

       In short: the responses to the contention interrogatories were previewed in June. And

Plaintiffs have offered a remedy for the 36-hour delay in submitting the expert reports that

eliminates any prejudice. There is no reason to strike the reports. The motion should be denied.

                                         BACKGROUND

       The delayed reports. Plaintiffs agree there was a delay, of 36 hours, in submitting the

expert reports in question. When preparing to finalize the reports on Sunday August 4, Plaintiff

counsel noted that depositions of several treaters had inadvertently been omitted from the

materials provided to Dr. Schmidt. (Along with a potential mis-citation of depositions from one

case in the other.) Counsel alerted Dr. Schmidt and promptly provided the depositions, but Dr.

Schmidt needed time to review them (and confirm there had been no actual confusion in the

potential mis-citation), and did not complete the review until August 6 (several hours after the

12:00 p.m. time estimate Plaintiff counsel had made to defense counsel the day before). Plaintiff

counsel produced Dr. Schmidt’s reports to defendants on the evening of August 6, promptly after

receiving it from Dr. Schmidt. Dr. Venters’ report (Dr. Venters has submitted the same report in

Wiley and in Reed) includes a review of Dr. Schmidt’s Wiley and Reed reports. Dr. Venters

therefore had to wait for Dr. Schmidt to provide finalized reports in both Wiley and Reed before

finalizing his own report. It is for this reason that Plaintiff counsel did not submit Dr. Schmidt’s

report until August 6, and did not submit Dr. Venters’ report until the morning of August 7.

       Plaintiff offered extension. Plaintiff counsel served Dr. Venters’ report on defense

counsel shortly before noon on August 7. Counsel’s plan had been to give defense counsel some

time to review both reports, and then speak with Wexford’s counsel about an accommodation for



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the 36-hour delay—the natural accommodation being a corresponding extension of the deadline

for defendants to submit their responsive expert reports. But at 2:55 p.m., Plaintiff counsel

received the defendants’ filed motions to strike in both Wiley and in Reed. Plaintiff counsel first

tried to call Wexford counsel to make the extension offer, but was directed to voicemail. So

instead, Plaintiff counsel emailed defense counsel with the offer a few minutes later. Defense

counsel declined to accept the offer.

       Contention interrogatory responses. Defendants’ motion to strike also asserts that

Plaintiffs “finally produced discovery responses that Defendants have been requesting for many

months,” and that Plaintiff counsel produced “seven different supplemental discovery responses”

as well. ECF 178 at 6. The defendants have not attached any of these discovery responses, but

they can easily be described. The “discovery” consists of multiple contention interrogatories.

When these interrogatories were issued, Plaintiffs objected they were premature, because they

called for expert opinions. Even so, on June 19 Plaintiff counsel provided defense counsel with

draft interrogatory responses. Those responses have remained substantively the same, except to

conform to the expert opinions that Plaintiff counsel served in August—the exact reason for the

prematurity objection.

       The first set of discovery consisted of multiple Monell contention interrogatories served

by Wexford. Wexford counsel had asked for responses earlier, but Plaintiffs objected that the

responses depended on what was submitted in the Monell expert’s report (i.e., Dr. Venters’s

report), and the parties had been discussing a response date for months. Nevertheless, on June

19 Plaintiff counsel provided Wexford with a draft of the Monell contention interrogatory

responses. Plaintiff counsel ultimately had to await the finalization of Dr. Venters’s report to

adjust and finalize the interrogatory responses, since the basis of Plaintiff’s Monell claim turned



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on Dr. Venters’ opinions. (Plaintiffs also took time to add record citations to the June 19 draft,

which defense counsel had requested.) By August 6 the interrogatory responses were

substantively the same as the June 19 draft, except to conform to the instances of medical care

about which Dr. Venters offers opinions (the June 19 draft responses cited numerous patients

whom Plaintiffs believe had received in appropriate medical care; in his report Dr. Venters

offered opinions regarding some of these patients, but not all; the August 6 responses were

adjusted to cite the instances of medical care about which Dr. Venters offered opinions, as

Plaintiffs would not be basing their contentions on this case on medical cases that Dr. Venters

did not discuss in his Monell opinion). Otherwise the August 6 responses were essentially

unchanged from the June 19 draft Plaintiff counsel had submitted to Wexford’s counsel.

       The second, “supplemental” discovery responses are similar: they are supplemental

responses to several contention interrogatories asking Plaintiffs to explain their basis for

asserting that the various individual defendants provided deficient medical care. At the time

these contention interrogatories were issued Plaintiffs objected that they were premature. Once

again, for good reason: opinions on the standard of care also depended on the opinions of

Plaintiff’s experts, as Plaintiffs explained to defense counsel. Nevertheless, on June 19 Plaintiffs

provided a general draft of that form response as well (the draft response was provided for a

general interrogatory asking about care provided by all the individual defendants).

       The supplemental interrogatory response has changed little between June 19 and their

finalization on August 6—each one is cut-and-paste, changing little. Each cites generally to the

allegations in the complaint and the record in the case, and then directs each defendant to

Plaintiff’s expert reports to understand the basis for Plaintiffs’ claims regarding the medical




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conduct of the individual defendants. This is an entirely appropriate means of responding to

contention interrogatories ultimately calling for expert opinions regarding the standard of care.

                                           DISCUSSION

        Disclosure delays are assessed under the Seventh Circuit’s familiar criteria: (1) the

prejudice or surprise to the party against whom the evidence is offered; (2) the ability of the

party to cure the prejudice; (3) the likelihood of disruption to the trial; and (4) the bad faith or

willfulness involved in not disclosing the evidence at an earlier date. David v. Caterpillar, Inc.,

324 F.3d 851, 857 (7th Cir. 2003). Under these criteria defendants’ motion should be denied.

        Prejudice or surprise. Prejudice is unlikely. The delay at issue consists of a delay of

less than 36 hours. The contention interrogatory responses discussed above, meanwhile were

subject to an objection that they were premature pending the submission of Plaintiff’s expert

reports, and in all events Plaintiff counsel provided defense counsel with draft versions of the

contention interrogatory responses on June 19. There is no surprise to defense counsel regarding

what is in the interrogatory responses.

        Ability of the party to cure prejudice. For the 36-hour delay in submitting the expert

reports, Plaintiffs submit a corresponding extension of defendants’ own deadlines is appropriate.

That is fair play, and it is appropriate to be prophylactic ensuring that Plaintiffs’ short delay does

not cause the defendants’ time to respond to be shortened. And Plaintiffs have done more than

that, offering a four-day extension, from October 5 to October 9, to come out of their time to

depose defendants’ experts—meaning no time is lost to the defendants as a result of the delay.

Plaintiffs submit that such an extension cures any prejudice caused by the short delay.




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       Likelihood of disruption to the trial. For the reasons set forth above, there is no

likelihood that trial will be disrupted. The extension would come out of Plaintiff’s time to

depose defendants’ experts. No other deadlines would move.

       Bad faith or willfulness involved in not disclosing the evidence at an earlier date.

Plaintiffs explained above the reason for the delay in submitting the expert reports. Plaintiffs

respectfully submit this inadvertence does not indicate bad faith or willfulness. And indeed

Plaintiffs have offered to remedy any potential prejudice with an offer of a corresponding, multi-

day extension.

       The timing of the contention interrogatory responses does not reflect bad faith or

willfulness either. Plaintiffs objected that contention interrogatories were premature because they

called for the expert opinions due in August. But in all events Plaintiff counsel provided draft

responses to defense counsel on June 19. The responses have changed little, and the substantive

changes have been made for the reason Plaintiffs cited: the answers to the contention

interrogatory responses turn on expert opinions, which were not finalized until August.

                                         CONCLUSION

       For the foregoing reasons, the defendants’ motion to strike should be denied.


                                                       Respectfully submitted,

 Jon Loevy                                             /s/ Stephen H. Weil
 Stephen Weil                                          Stephen H. Weil
 Maria Makar                                           Attorney for Plaintiffs
 LOEVY & LOEVY
 311 N. Aberdeen Street, Third Floor
 Chicago, IL 60607
 (312) 243-5900




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